                   Case 20-10553-CSS                  Doc 1008-8                      Filed 09/30/20     Page 1 of 10
                                                       4135 Vondell Parkway
                                                       Lansing, MI 48917                                                Walker's Truck & Trailer
                                                       Phone: (517) 322-3110                                            R Stamp: R-2327
                                                       Fax: (517) 322-3143                                              Cargo Tank: CT13706
                                                       www.walkerstts.com
                                                       general@walkerstts.com
                                                                                                                        Repair Facility: F166911


Date: Mar 05 2020                                     Invoice 77879                                                Terms: Net 30
    Customer ART VAN FURNITURE, INC.                                                                     Unit Number     555
     Address 6500 E 14 MILE RD                                                                                  Make     KENWORTH
              WARREN, MI 48092-1295                                                                            Model     T270
       Phone 517-231-3592                                                                                        Year    2017
        Email dkrause@artvan.com                                                                                  VIN    2NKHHM6X5HM165286
                                                                                                              Mileage    117632




Item                        Description                                                          Price           Quantity         Extended Price

1       WON'T GO INTO GEAR
        COMPLAINT: STARTED UNIT UP SATURDAY UNIT WENT INTO GEAR AND DROVE AROUND BUILDING FINE.
        PARKED UNIT AND LET SIT FOR A WHILE, STARTED BACK UP WENT INTO GEAR FINE AND BACKED INTO
        LOADING DOCK. AFTER BACKING IN AND LOADING TRUCK, UNIT WOULD NOT GO INTO DRIVE. THEY
        DISCONNECTED BATTERY AND LET SIT FOR HALF HOUR AND RECONNECTED BATTERY. TRUCK STARTED AND
        WENT ONTO GEAR FINE AND DROVE STRAIGHT TO US.

        CORRECTION: WENT ON SERVICE CALL TO CUSTOMER LOCATION, INSPECTED UNIT FOR CUSTOMER
        COMPLAINT, NO ISSUES FOUND. ADVISED CUSTOMER AND INSPECTED WITH CUSTOMER, THEY WILL BRING
        UNIT TO WALKER'S SHOP.

        ONCE RETURNED TO SHOP, SCANNED UNIT FOR CUSTOMER COMPLAINT, NO FAULTS APPEARED.
        INSPECTED FURTHER, FOUND ARNES MOTOR SHIFTING ERRATICALLY, REMOVED AND REPLACED MOTOR.
        SENT TO DEALER FOR WARRANTY. TESTED OPERATION, NO ISSUES FOUND.

        *ONCE WE RECEIVE A WARRANTY CREDIT, WE WILL CREATE A NEW CREDIT INVOICE AND RETURN THAT TO
        YOU.

SBW-ACT810-01               ACTUATOR - HORIZONTAL                                               $1,279.09          1.00 Each             $1,279.09
Labor                       Jacob Walters (M256789)                                               $110.00          2.50 Hour              $275.00
Labor                       Jason Higgins (M269492)                                               $110.00          1.60 Hour              $176.00

Parts Subtotal: $1,279.09                         Labor Subtotal: $451.00                                        Task Subtotal: $1,730.09




77879                                                                                                                            Page 1 of 2
                                                           Generated at 2020-03-10 08:03:49.
                            Case 20-10553-CSS                       Doc 1008-8                        Filed 09/30/20    Page 2 of 10

                                                                                                                                        Parts Total: $1,279.09
                                                                                                                                         Labor Total: $451.00
                                                                                                                                   Invoice Subtotal: $1,730.09
                                                                                                                                   Environmental Fee: $22.55
                                                                                                                                                  Tax: $78.10
                                                                                                                                     Invoice Total: $1,830.74

Picked Up By:

Sign:                                                                Print:                                                                Date:

The factory warranty constitutes all of the warranties with respect to the sale of this (these) items. The seller expressly disclaims all warranties, either express or
implied, including any implied warranty of merchantability or fitness for a particular purpose.




77879                                                                                                                                               Page 2 of 2
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Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 3 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 4 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 5 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 6 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 7 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 8 of 10
Case 20-10553-CSS   Doc 1008-8   Filed 09/30/20   Page 9 of 10
                           Case 20-10553-CSS                       Doc 1008-8                       Filed 09/30/20      Page 10 of 10
                                                                      4135 Vondell Parkway
                                                                      Lansing, MI 48917                                                 Walker's Truck & Trailer
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                                                                      Fax: (517) 322-3143                                               Cargo Tank: CT13706
                                                                      www.walkerstts.com
                                                                      general@walkerstts.com
                                                                                                                                        Repair Facility: F166911


Date: Feb 26 2020                                                  Invoice 77817                                                      Terms: Net 30
    Customer ART VAN FURNITURE, INC.                                                                                    Unit Number       555
     Address 6500 E 14 MILE RD                                                                                                 Make       KENWORTH
              WARREN, MI 48092-1295                                                                                           Model       T270
       Phone 517-231-3592                                                                                                       Year      2017
        Email dkrause@artvan.com                                                                                                 VIN      2NKHHM6X5HM165286
                                                                                                                             Mileage      117152




Item                                Description                                                                 Price              Quantity           Extended Price

1        TRANSMISSION LIGHT WAS ON - WOULDN'T GO INTO GEAR - NOW MOVING - 10 MINUTES BEFORE IT
         WOULD GO INTO GEAR
         SCANNED UNIT FOR CUSTOMER COMPLAINT, NO FAULTS APPEARED. RAN UNIT AROUND LOT, COULD NOT
         MESS UP. FOUND IF YOU DO NOT LET TRUCK AIR UP PROPERLY, DASH LIGHTS COME ON WARNING YOU
         NOT TO GO INTO GEAR, SIMILAR TO WHAT WAS DESCRIBED BY DRIVER.

Labor                               Nehemiah Merchant (M232959)                                                  $110.00              0.70 Hour                    $77.00

Labor Subtotal: $77.00                                           Task Subtotal: $77.00


2        COMPLETED REPAIRS INSPECTED AND APPROVED
         TEST DROVE UNIT DOWN THE ROAD, NO ISSUES FOUND, SHIFTING THROUGH THE GEARS PROPERLY.

Labor                               Jeremy Saltzman (M265668)                                                    $110.00              0.50 Hour                    $55.00

Labor Subtotal: $55.00                                           Task Subtotal: $55.00


                                                                                                                                             Parts Total: $0.00
                                                                                                                                          Labor Total: $132.00
                                                                                                                                     Invoice Subtotal: $132.00
                                                                                                                                     Environmental Fee: $6.60
                                                                                                                                                    Tax: $0.40
                                                                                                                                       Invoice Total: $139.00

Picked Up By:

Sign:                                                                Print:                                                                Date:

The factory warranty constitutes all of the warranties with respect to the sale of this (these) items. The seller expressly disclaims all warranties, either express or
implied, including any implied warranty of merchantability or fitness for a particular purpose.




77817                                                                                                                                               Page 1 of 1
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